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                       7       SOMERPOINTE REALTY, LLC,
                               AARON LEWIS and JUNID SANCHEZ
                       8

                       9                                         UNITED STATES DISTRICT COURT

                    10                                               DISTRICT OF NEVADA

                    11

                    12         ANGELA GIMMELLIE, an individual,                    Case No. 2:21-cv-00212-RFB-NJK

                    13                             Plaintiff,

                    14         vs.                                                STIPULATION AND [PROPOSED]
                                                                                  ORDER TO EXTEND TIME FOR
                    15         SOMERPOINTE REALTY, LLC, a Nevada                  DEFENDANT TO FILE A REPLY IN
                               Limited Liability Company; AARON LEWIS,            SUPPORT OF MOTION TO COMPEL
                    16         an individual; JUNID SANCHEZ, an
                               individual; DOES I through X, inclusive; and       [FIRST REQUEST]
                    17         ROE BUSINESS ENTITIES, I through X,
                               inclusive,
                    18
                                                   Defendants.
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                    21                  Defendants SOMERPOINTE RESORTS, LLC, AARON LEWIS and JUNID SANCHEZ

                    22         (hereinafter jointly referred to as “Defendants”) and Plaintiff ANGELA GIMMELLIE (“Plaintiff”),

                    23         by and through their undersigned counsel, hereby stipulate and agree to extend the time for Defendant

                    24         to file a Reply in Support of its Motion to Compel (ECF # 29), from the current deadline of November

                    25         19, 2021, until up to and including December 3, 2021. There is good cause for entering into this

                    26         stipulation due to plaintiff’s deposition being conducted November 16, 2021 which may resolve some

                    27         or all of the matters at issue.

                    28         ///
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                       1                  This is the first request for an extension of time with respect to Defendant’s Reply. The

                       2        parties agree and represent to the Court that this request is made in good faith and not for the

                       3        purpose of delay.

                       4

                       5       Dated: November 15, 2021                           Dated: November 15, 2021

                       6       Respectfully submitted,                            Respectfully submitted,
                       7

                       8       /s/ Jill Garcia                                    /s/ Steven J.T. Washington
                               JILL GARCIA, ESQ.                                  PATRICK H. HICKS, ESQ.
                       9       H1 LAW GROUP                                       STEVEN J.T. WASHINGTON, ESQ.
                                                                                  LITTLER MENDELSON, P.C.
                    10         Attorney for Plaintiff
                               ANGELA GIMMELLIE                                   Attorneys for Defendants
                    11                                                            SOMERPOINTE REALTY, LLC, AARON
                                                                                  LEWIS and JUNID SANCHEZ
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                    14                                                                IT IS SO ORDERED.

                    15                                                                Dated: November
                                                                                             _____________________,
                                                                                                       16, 2021     2021.
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                                                                                      _______________________________________
                    18                                                                UNITED STATES MAGISTRATE JUDGE
                    19         4888-0168-7811.1 / 077839-1014

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